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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



        IN RE REMICADE ANTITRUST                           CIVIL ACTION
        LITIGATION
                                                           NO. 17-4326-KSM



                                           ORDER

       AND NOW, this 8th day of December, 2022, upon consideration of the proposed Amended

Plan of Allocation and Distribution (“Plan of Allocation”) attached as Exhibit A to the December

8, 2022 Notice of Filing (see Doc. No. 202-1), it is ORDERED that pursuant to ¶ 12 of the Plan

of Allocation, the Court APPROVES this Plan of Allocation and DIRECTS Plaintiffs to post this

Order and the Plan of Allocation on the case website, www.RemicadeSettlement.com.

IT IS SO ORDERED.



                                                   /s/KAREN SPENCER MARSTON
                                                   ______________________________
                                                   KAREN SPENCER MARSTON, J.
